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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                                 Case No. 23-10831
                                                                     (Jointly Administered)
                                       Debtors.
                                                                     Related Docket Nos. 975, 1076

    CERTIFICATION OF COUNSEL REGARDING ORDER APPROVING SECOND
  INTERIM APPLICATION OF TROUTMAN PEPPER HAMILTON SANDERS LLP, AS
COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR THE
 PERIOD FROM OCTOBER 1, 2023, THROUGH AND INCLUDING DECEMBER 31, 2023

                    The Official Committee of Unsecured Creditors (the “Committee”) in the above-

captioned cases, by and through its undersigned counsel, hereby certifies as follows:

                    1.      On February 14, 2024, the Committee filed the Second Interim Application

of Troutman Pepper Hamilton Sanders LLP, as Counsel for the Official Committee of Unsecured

Creditors, for the Period from October 1, 2023, Through and Including December 31, 2023

[Docket No. 975] (the “Interim Application”) with the United States Bankruptcy Court for the

District of Delaware (the “Court”). The notice filed with the Interim Application established a

deadline of March 5, 2024, at 4:00 p.m. (ET) to respond to the Interim Application. A hearing on

the Interim Application is scheduled for March 14, 2023, at 3:00 p.m. (ET).

                    2.      The Committee received no formal or informal responses with respect to

the Interim Application prior to the objection deadline. Consequently, on March 7, 2024, the

Committee filed the Certificate of No Objection Regarding Second Interim Application of

Troutman Pepper Hamilton Sanders LLP, as Counsel for the Official Committee of Unsecured




1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
       address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Creditors, for the Period from October 1, 2023, Through and Including December 31,

2023 [Docket No. 1076].

              3.     Attached hereto as Exhibit A is the proposed order approving the Interim

Application. A copy of the proposed order, along with the Interim Application and related

materials, has been delivered to the Chambers of The Honorable Brendan L. Shannon.



                          [Remainder of page intentionally left blank]




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               WHEREFORE, the Committee respectfully requests that the proposed order

attached hereto as Exhibit A be entered at the Court’s earliest convenience.

Dated: March 11, 2024                                Respectfully submitted,
       Wilmington, Delaware
                                                     TROUTMAN PEPPER HAMILTON
                                                     SANDERS LLP

                                                     /s/ Tori L. Remington
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                                                     Counsel to the Official Committee of
                                                     Unsecured Creditors


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